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       2   DAVID P CUSICK, #160467 TRUSTEE
           NEIL ENMARK, #159185, Attorney for Trustee
       3   KRISTEN A. KOO, STATE BAR #230856, Attorney for Trustee
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       4
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      10                              UNITED STATES BANKRUPTCY COURT

      11                                EASTERN DISTRICT OF CALIFORNIA
      12                                         SACRAMENTO DIVISION
      13
      14
      15
           IN RE:                                  )      Case No: 21-20922-A-13C
                                                   )      DCN: DPC-1
      16                                           )
      17   KYLE CURTIS ASH,                        )      DECLARATION OF NEIL ENMARK
                                                   )      IN SUPPORT OF TRUSTEE’S
      18                                           )      OBJECTION TO CONFIRMATION
      19                                           )
                                                   )      DATE:                   MAY 25, 2021
      20
                                                   )      TIME:                   9:00 A.M.
      21                                           )      JUDGE:                  CLEMENT
      22                           Debtor(s)       )      COURTROOM:              28
      23
                       I, Neil Enmark, do hereby state and declare as follows:
      24
      25              1.   I am over the age of eighteen years old and not a party to this action.

      26              2.   I am employed by DAVID P. CUSICK, TRUSTEE, and in the course of my
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           employment, I have become familiar with his records and procedures, and the records of this
      28
           case, and I can testify as to both.

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       1              3. I have reviewed the Trustee’s records and show that Debtor’s plan proposes no
       2   less than 77% to unsecured claims which are estimated at $5,693.00, (Plan, DN 3, Page 5,
       3
           §3.14.) The Debtor’s calculated monthly disposable income is $7,572.00, (Forn 122C-2, DN 1,
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           Page 57, Line 45.)
       5
       6              4. I show the Trustee’s records show that no payments have been received in this case

       7   to date where it shows $5,060.00 due under the plan, (DN 3, Page 2, §2.01.)
       8              5. I show that no claim has been filed by ACM Investor Services to date, where the
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           plan calls for this claim to be paid in full, (Plan, DN 3, Page 4, §3.08), and the plan normally
      10
           requires a claim to be filed to be paid, (Plan, DN 3, Page 1, §3.01.)
      11
      12              6. I show ebtor has only two scheduled secured debts, Wells Fargo Home Mortgage

      13   and ACM Investor Services, and seven separate real properties, (DN 1, Pages 11-14.) Debtor
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           proposes to pay Wells Fargo Home Mortgage directly as Class 4 and to pay ACM Investor
      15
           Services in full as Class 2, (Plan, DN 3, Page 4, §§3.08(d), 3.10.)
      16
      17              7. I show Debtor owns 100% of AKC Properties, LLC, 15% of D & D Reit, Inc., and

      18   an interest in Curtis Property Investments, LLC, (Statement of Financiaal Affairs, DN 1, Page
      19   46, Question 27; Schedule A/B, DN 1, Page 19, Question 19.) Debtor also owns 20% and is the
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           executor of his grandparents trusts, (Schedule A/B, DN 1, Page 19, Question 25.) Schedule I
      21
           includes 12 months profit and loss, (by Solano Property Management, DN 1, Pages 34-36.)
      22
      23              8. I show Debtor has scheduled the value of his interests in LLC as “Unknown.”

      24   (Schedule A/B, DN 1, Page 19, Question 19.)
      25              I declare under penalty of perjury that the foregoing is true and correct.
      26
                  Executed on APRIL 28, 2021, at Galt, California.
      27
                                                                 /s/Neil Enmark
      28
                                                                 Neil Enmark, Attorney for Trustee

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